            Case 1:21-cv-00100-EGS Document 139 Filed 07/08/22 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    NANCY GIMENA HUISHA-HUISHA, on
    behalf of herself and others similarly situated,

                       Plaintiffs,

           v.                                                   Civ. A. No. 21-100 (EGS)

    ALEJANDRO MAYORKAS, Secretary of
    Homeland Security, et al.,

                       Defendants.


                                      JOINT STATUS REPORT

          Pursuant to the Court’s June 17, 2022, Minute Order, Plaintiffs and Defendants, by and

through undersigned counsel, hereby submit this joint status report.

          1.      The parties continue to discuss the completeness of the administrative record and

to what extent briefing on the merits of Plaintiffs’ claims are necessary in light of the events

detailed in the parties’ previous Joint Status Report (e.g., Centers for Disease Control and

Prevention’s Termination Order and the Western District of Louisiana’s preliminary injunction of

the enforcement of the Termination Order). 1

          2.      The parties are also discussing Defendants’ implementation of this Court’s

preliminary injunction, as modified by the D.C. Circuit’s March 4, 2022, Opinion and Order.




1
       The Government notes that the Court of Appeals for the Fifth Circuit ordered that the
Government file by July 25, 2022 its brief in support of its appeal of the order by the District Court
for Western District of Louisiana preliminarily enjoining the enforcement of the Centers for
Disease Control and Prevention’s Public Health Determination and Order Regarding the Right to
Introduce Certain Persons from Countries Where a Quarantinable Communicable Disease Exists
(“Termination Order”).
         Case 1:21-cv-00100-EGS Document 139 Filed 07/08/22 Page 2 of 3




       3.      Therefore, the parties seek additional time for the foregoing conversations and to

provide the Court with recommendations regarding next steps in this litigation. The parties

respectfully request that they file another Joint Status Report on July 29, 2022, although the parties

may request relief from the Court before that date.

       4.      A proposed order is enclosed.



Dated: July 8, 2022                          Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             D.C. Bar. #481052
                                             United States Attorney

                                             BRIAN P. HUDAK
                                             Chief, Civil Division

                                              /s/ Sean M. Tepe
                                             SEAN M. TEPE, DC Bar #1001323
                                             Assistant United States Attorney
                                             601 D Street, N.W.
                                             Washington, D.C. 20530
                                             Phone: (202) 252-2533
                                             Email: sean.tepe@usdoj.gov

                                             /s/ Lee Gelernt______________
                                             Lee Gelernt (Bar ID. NY0408)
                                             Daniel A. Galindo (Bar ID. NY035)
                                             Omar Jadwat*
                                             Ming Cheung*
                                             David Chen
                                             American Civil Liberties Union Foundation,
                                             Immigrants’ Rights Project
                                             125 Broad Street, 18th Floor
                                             New York, NY 10004
                                             Tel: (212) 549-2660

                                             Attorneys for Plaintiff

                                             *Admitted pro hac vice




                                                  2
         Case 1:21-cv-00100-EGS Document 139 Filed 07/08/22 Page 3 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                    Plaintiffs,

        v.                                                    Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                    Defendants.



                                      PROPOSED ORDER

       Upon consideration of the Joint Status Report, it is hereby ORDERED that the parties

shall file another joint status report with a recommendation for further proceedings on or before

July 29, 2022.


_________________                                    __________________
Date                                                 Emmet G. Sullivan
                                                     United States District Judge
